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                   EXHIBIT A
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         Class

                         Class
                        Action
                Administration




Headquarters          New York                 Washington DC                Florida                        Israel
600 A.B. Data Drive   One Battery Park Plaza   915 15th St., NW, Ste. 300   5080 PGA Boulevard, Ste. 209   19 Weissburg Street
Milwaukee, WI 53217   32nd Floor               Washington, DC 20005         Palm Beach Gardens, FL 33418   Tel Aviv 69358
P: 866-217-4470       New York, NY 10004       P: 202-618-2900              P: 561-336-1801                Israel
F: 414-961-3099       P: 646-290-9137          F: 202-462-2085              F: 561-252-7720                P: +972 (3) 720-8782
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CAPABILITIES
About A.B. Data

         Founded in 1981, A.B. Data has earned a reputation for expertly managing the complexities of
         class action administration in consumer, antitrust, securities, Securities and Exchange
Commission (SEC) enforcement actions, and ERISA, Attorneys General, employment, civil rights,
insurance, environmental, wage and hour, and other class action cases. A.B. Data’s work in all aspects
of class action administration has been perfected by decades of experience in hundreds of class action
cases involving billions of dollars in total settlements. Dedicated professionals deliver A.B. Data’s all-
inclusive services, working in partnership with its clients to administer their class action cases
effectively, efficiently, and affordably, regardless of size or scope.

         A.B. Data offers unmatched resources and capacity and is capable of expertly administering
any class action notice, settlement, and/or fund administration. Whether notifying millions of class
members in the United States or throughout the world, processing millions of claims, distributing
payments digitally via A.B. Data's Digital PayPortal℠, or printing and distributing millions of checks, A.B.
Data matches its talent and technology to the specific needs of its clients, delivering unparalleled
service on time and on budget without ever compromising quality.



Location, Ownership Structure

        A.B. Data is an independently owned, 39-year-old, Milwaukee, Wisconsin-based company that
        prides itself on its vast expertise and industry-leading innovations. We like to remind our clients
and partners that we’re not just a class action administration company, but a group of experienced,
dedicated professionals who believe that relationships are just as important as the accurate and timely
management of class action administrations. In other words, we are people who do business with people.




Services

       Every A.B. Data client is deserving of the best job we can put forward. A.B. Data makes class
        action administration easy for our clients with clarity, convenience, and efficiency. Our priority is
to navigate the intricacies of our clients’ matters and deliver successful results by using our solid expertise,
advanced technology, and top-quality products and services. We pay attention to the details and get it
right the first time.

     We aim to provide our clients the full experience of a truly collaborative working relationship. It is
why we believe much of our success originates from our philosophy of “people doing business with people.”




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Services



    All Digital — From Notice to Distribution

A.B. Data is uniquely positioned to design, implement, and maintain notice and settlement
administration programs using an innovative, "all-digital" approach that replaces the more traditional
and less efficient methods of administration, such as newspaper ads, mailed notices, and paper checks.
Many of our recent proposed notice plans and claim programs utilize the latest technologies such as
microtargeted digital ads for notice, streamlined online claims, and distributing settlement funds
electronically using a digital paywall. These methods provide significant cost savings, are consistent with
the amendments to Rule 23 that are now in effect, and importantly provide much-needed alignment of
class action notice and administration with current consumer behaviors.


    Pre-Settlement Consultation
The pre-settlement consultation is a collaborative session designed to help A.B. Data clients prepare
a stronger case. Our support teams simplify the task of sorting through a maze of documents during
investigation and discovery, streamlining the process and preserving fund assets. From there, we assist
with fully interactive media packages for court presentations and settlement negotiations. A.B. Data
works closely with our clients, offering expert testimony on documents, processing, class and notice
manageability, and proposed plans of allocation.


    Media Services
A.B. Data continues to earn our reputation as the early innovator in integrating advanced micro-
targeting techniques, including contextual targeting, behavioral targeting, and predictive modeling.
Coupled with inventive digital media strategies to drive claims, case-specific banner ad development,
class member research, and comScore analysis services, our multi-tiered media programs are designed
to cost-effectively deliver notice to potential class members and increase claims rates.



    Notice Administration

In A.B. Data, clients have a comprehensive resource with a depth of experience in direct notice. Our
compliance and understanding of Rule 23 of the Federal Rules of Civil Procedure are crucial in meeting
the “plain language” legal requirements for any campaign. From our sophisticated digital media
capabilities and extensive global experience with class member research, our experts create notice
documents that are easily understandable and cost-efficient to produce. We consult with our clients to
deliver notice documents from multi-page, mailed, or emailed notice packets to concise postcards that
establish the most influential and cost-effective means of communicating with potential claimants.




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    Claims Processing
A.B. Data continues to bring game-changing technologies to improve the speed and precision in claims
processing. Our robust system for online claims submissions allows us to meticulously verify data and
documentation, preserve and authenticate claims, and calculate and verify settlement amounts. In
addition, our data network infrastructure includes on-site data storage, backup, contingency plans, and
security for electronic and hard copy claim filings. It is all part of a total commitment to be the most
innovative and comprehensive resource in the industry. At A.B. Data, we take pride in having the in-
house capacity to process millions of pages, as well as the organizational integrity to treat every claim
as if it were the only one.


    Contact Center

A.B. Data’s Contact Center is comprised of a full staff that is trained on and equipped with online and
telecommunication systems to monitor and connect with class members. Associates routinely monitor
class member communication for all class action administrations, including antitrust, consumer, and
securities.

Utilizing monitoring software, associates watch multiple social media channels simultaneously, allowing
for instantaneous routing of inquiries and interaction with claimants. Detailed and concise analytical
reports outlining Contact Center activities are always provided.

Our Contact Center and case websites are capable of handling millions of class member engagements, as
recently displayed in a campaign which garnered over 1.2 million website visits in two months and had
more than 72,500 Facebook engagements. Facebook comments and threads are monitored and claimants
are guided to the website for more information. Google AdWords and display advertising have also
brought hundreds of thousands of visitors to various case websites.

A.B. Data’s Contact Center also has Spanish language associates in-house and we can accommodate any
language, given proper lead time. Traditional call center facilities are also available, if needed.



   Case Websites
We offer a state-of-the-art technology platform that supports every step of our class action
administration process. Our expert marketing professionals design customized case-specific websites that
provide potential class members easy access to case information, critical documents, important
deadlines, as well as the capability to file claim forms and register for future mailings about the case.
Claimants can use the website to elect to receive their settlement payments by mail or by one of several
digital payment options, all accessible by mobile devices.


   Settlement Fund Distribution
From complete escrow services to establishment of qualified settlement funds, check printing and
mailing, electronic cash or stock distribution and tax services, A.B. Data has always provided a full-
service solution to Settlement Fund Distribution. Our IT team has decades of experience in developing
and implementing fast, secure databases and claims administration systems that ensure class members
receive the correct amount in their settlement disbursement. Today’s digital capabilities allow even
greater convenience for class members. In certain instances, claimants can now elect to instantaneously
receive settlement payments through popular digital-payment options, such as PayPal, Amazon, and
virtual debit cards.
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A.B. Data’s Leadership


        A.B. Data’s administration team is composed of the following key executives, who collectively
        have decades of experience settling and administering class actions:



Bruce A. Arbit, Co-Managing Director and one of the founders of the A.B. Data Group, serves as
Chairman of the Board and oversees the day-to-day operations of the A.B. Data Group of companies,
employing almost 400 people in the United States and Israel. Mr. Arbit is also Chairman of the Board of
Integrated Mail Industries, Ltd. and has served as a member of the Board of Directors of University
National Bank and State Financial Bank. He is the past Chairman of Asset Development Group, Inc., Home
Source One, and American Deposit Management and is a member of the National Direct Marketing
Association, the Direct Marketing Fundraising Association, and the American Association of Political
Consultants. He was named 1996 Direct Marketer of the Year by the Wisconsin Direct Marketing
Association.

A.B. Data’s work in class action litigation support began with the Court selecting A.B. Data to oversee
the restitution effort in the now-famous Swiss Banks Class Action Case, the International Commission on
Holocaust Era Insurance Claims, and every other Holocaust Era Asset Restitution program, in which it was
the company’s job to identify, contact, and inform survivors of the Holocaust. A.B. Data delivered by
reaching out to millions of people in 109 countries who spoke more than 30 languages. Since those days,
Mr. Arbit has guided the class action division through phenomenal growth and success. Today, A.B. Data
manages hundreds of administrations annually that distributes billions of dollars to class members.

Thomas R. Glenn, President, Mr. Glenn’s management of A.B. Data’s Class Action Administration
Company includes designing and implementing notice plans and settlement administration programs for
antitrust, securities, and Securities and Exchange Commission settlements and SEC disgorgement fund
distributions, as well as consumer, employment, insurance, and civil rights class actions. Mr. Glenn
previously served as Executive Vice President at Rust Consulting and has more than 30 years of executive
leadership experience.

Eric Miller, Senior Vice President, as a key member of A.B. Data’s Class Action Administration
Leadership Team, oversees the Case Management Department and supervises the operations and
procedures of all of A.B. Data’s class action administration cases. Mr. Miller is recognized in the class
action administration industry as an expert on securities, SEC, consumer, product recall, product
liability, general antitrust, pharmaceutical antitrust, and futures contract settlements, to name a few
settlement types. Prior to joining A.B. Data, Mr. Miller served as the Client Service Director for Rust
Consulting, responsible there for its securities practice area. He has more than 20 years of operations,
project management, quality assurance, and training experience in the class action administration
industry. In addition, Mr. Miller manages A.B. Data’s office in Palm Beach Gardens, Florida.

Ravin Raj, Vice President-Operations, has more than 15 years of experience in class action claims
management, document management, and insurance claims remediation. Mr. Raj’s responsibilities for
A.B. Data’s Class Action Administration Company include heading the shared operations center, which
includes mailroom, contact center, claims processing, quality control, and information systems
operations. His areas of expertise include business process development, strategic/tactical operations

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planning and implementation, risk analysis, budgeting, business expansion, growth planning and
implementation, cost reduction, and profit, change, and project management. In his previous position,
as Assistant Vice President-Operations at RR Donnelley India Pvt. Ltd., in Chennai, India, he led a team
of more than 400 employees with the capacity to process more than 4 million claims a year, servicing
several leading claims administrators. Mr. Raj managed six of the top ten securities class action
settlements, by settlement value, including several multibillion-dollar settlements. His background also
includes work as a Project Lead for iMarque Solutions Pvt. Ltd., Chennai, India.

Linda V. Young, Vice President, Media, oversees the Media Department and is responsible for the
direction, development, and implementation of media notice plans for A.B. Data’s clients. Ms. Young is
an expert in media planning using most forms of advertising including digital, print, and broadcast. She
developed some of the first Court-approved Notice Plans using an all-digital approach for cases such as
In re Vizio Consumer Privacy Litigation, In re Qualcomm Antitrust Litigation, and In re Google Inc. Street
View Electronic Communications Litigation, among others. Her ability to create notice plans that
efficiently extend reach and drive class member engagement and participation has made a significant
impact across many types of administrations. Ms. Young has developed and implemented national and
international print, digital-, and earned-media notice plans for some of the industry's leading
pharmaceutical, insurance, and securities class action cases, including Libor-based Financial Instruments
Antitrust Litigation, Cipro Antitrust Cases I and II, Euribor and Euroyen-based Derivatives cases, and many
more. She has more than 20 years of general market and ethnic media advertising and media planning
experience, having managed advertising for brands such as Georgia-Pacific, American Express, Denny’s,
and Coca-Cola USA.

Eric Schachter, Vice President, is a member of A.B. Data’s Class Action Administration Leadership
Team. He has over 15 years of experience in the legal settlement administration services industry. Mr.
Schachter’s responsibilities include ensuring successful implementation of claims administration services
for A.B. Data’s clients in accordance with settlement agreements, court orders, and service agreements.
He also works closely with Project Managers to develop plans of administration to provide the highest
level of effective and efficient delivery of work product. A frequent speaker on claims administration
innovation and best practices at industry events nationwide, Mr. Schachter has a bachelor’s degree in
sociology from Syracuse University, earned his law degree at Hofstra University School of Law, and was
previously an associate at Labaton Sucharow LLP in New York City.

Paul Sauberer, Director of Quality Assurance, is responsible for overseeing quality assurance and
process management, working diligently to mitigate risk, ensure exceptional quality control, and develop
seamless calculation programming. Mr. Sauberer brings more than 20 years of experience as a quality
assurance specialist with a leading claims-processing company where he developed extensive knowledge
in securities class action administration. He is recognized as the class action administration industry’s
leading expert on claims and settlement administrations of futures contracts class actions.

Justin Parks, Vice President, provides expertise in legal marketing strategies and brings extensive
experience in client relations to A.B. Data’s business development team. Previously, Mr. Parks served
the legal industry as part of the marketing group at a major class action administration firm where he
successfully managed and consulted on notice plans and other administrative aspects in hundreds of
cases with an estimated value of several hundred million dollars in settlement funds distributed to class
members, including some of the largest Employment settlements in history. Mr. Parks is uniquely
experienced in Data Privacy matters, having consulted with clients on numerous matters stemming from
data breaches as well as violations of the Illinois Biometric Information Privacy Act (BIPA), several of
which resulted in the first ever Biometric Privacy related settlements in history. Mr. Parks’ knowledge
and understanding of the class action industry, as well as his client relationship skills, expand A.B. Data’s
capacity to achieve its business development and marketing goals effectively.


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Camron Assadi, Vice President, Digital Marketing, has more than 20 years of experience in digital
marketing leadership, which includes directing and overseeing all aspects of the company's digital notice
plans and campaigns across multiple networks and platforms. Mr. Assadi is an expert in online advertising
and social media campaigns including Facebook, Google Ads, LinkedIn, Twitter, Amazon, Pinterest,
Verizon Media, and others. He holds certifications in Google Ads Display and Search, and is a Facebook
Certified Digital Marketing Associate. His ability to create and optimize business opportunities, extend
brand reach, and capture the interest and support of local and international audiences has proven him
an invaluable leader of A.B. Data's effort to maximize and streamline class member notice and
engagement. Mr. Assadi has managed the notice plans for cases that have garnered millions of unique
visitors and social media interactions. He holds a BS in Psychology from the University of Utah.

Adam Walter, PMP, Senior Project Manager, has nearly fifteen years of experience managing the
administration of securities class action settlements and SEC disgorgements totaling more than $4 billion.
He has managed settlement programs in engagements involving some of the largest securities class action
settlements and is a key contributor to the development of administration strategies that meet the
evolving needs of our clients. His responsibilities include developing case administration strategies to
ensure that all client and court requirements and objectives are met, overseeing daily operations of case
administrations, ensuring execution of client deliverables, providing case-related legal and
administration support to class counsel, overseeing notice dissemination programs, implementing
complex claims-processing and allocation methodologies, establishing quality assurance and quality
control procedures, and managing distribution of settlement funds. Mr. Walter holds a bachelor's degree
in business administration from Florida Atlantic University, Boca Raton, Florida. He also has been an
active member of the Project Management Institute since 2010 and is PMP®-certified.

Steve Straub, Senior Project Manager, joined A.B. Data in February 2012. As a Senior Project Manager,
his responsibilities include developing case administration strategies, overseeing daily operations of case
administrations, ensuring execution of client deliverables, providing case-related legal and
administration support to case counsel, overseeing notice dissemination programs, implementing
complex claims processing and allocation methodologies, establishing quality assurance and quality
control procedures, and managing distribution of settlement funds. Mr. Straub’s experience in
administering class action settlements includes securities, consumer, and antitrust settlements, with a
primary focus on antitrust cases. He holds a Juris Doctor degree from Seton Hall University School of
Law, Newark, New Jersey.

Patty Nogalski, Project Manager, is a veteran in the equity and securities industry and now contributes
her talents to A.B. Data as a Project Manager specializing in class action administrations for securities
litigation. Ms. Nogalski brings to A.B. Data many new ideas, methods, and technologies to achieve project
efficiency and organizational integration. For much of her twenty-year career, she served as Vice
President Equity Trading for BMO Global Asset Management Corporation where she managed equity
trading for mutual funds and institutional accounts. She works closely with Eric Miller and the project
management team to deliver strategies that meet the unique needs of securities and commodities
settlements. Ms. Nogalski attended the University of Wisconsin-Milwaukee where she earned her Bachelor
of Arts in Communications, and has also obtained her Financial Industry Regulatory Authority (FINRA)
Series 7, Series 63, and Series 65 licenses.

Eric Schultz, MCSE, Information Technology Manager and Security Team Chairperson, has been
with A.B. Data for more than 19 years, and is currently responsible for overseeing all information
technology areas for all A.B. Data divisions across the United States and abroad, including network
infrastructure and architecture, IT operations, data security, disaster recovery, and all physical, logical,
data, and information systems security reviews and audits required by our clients or otherwise. As a
Microsoft Certified Systems Engineer (MCSE) with more than 25 years of experience in information
technology systems and solutions, Mr. Schultz has developed specializations in network security,
infrastructure, design/architecture, telephony, and high-availability network systems.

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Secure Environment

        A.B. Data’s facilities provide the highest level of security and customization of security
        procedures, including:

•   A Secure Sockets Layer server
•   Video monitoring
•   Limited physical access to production facilities
•   Lockdown mode when checks are printed
•   Background checks of key employees completed prior to hire
•   Frequency of police patrol – every two hours, with response time of five or fewer minutes
•   Disaster recovery plan available upon request



Data Security

         A.B. Data is committed to protecting the confidentiality, integrity, and availability of
         personal identifying information and other information it collects from our clients, investors,
         and class members and requires that its employees, subcontractors, consultants, service
providers, and other persons and entities it retains to assist in distributions do the same. A.B. Data has
developed an Information Security Policy, a suite of policies and procedures intended to cover all
information security issues and bases for A.B. Data, and all of its divisions, departments, employees,
vendors, and clients. A.B. Data has also recently taken the necessary, affirmative steps toward
compliance with the EU's General Data Protection Regulation and the California Consumer Privacy Act.

A.B. Data has a number of high-profile clients, including the Securities and Exchange Commission (SEC),
the United States Department of Justice, the Attorneys General of nearly all 50 states, other agencies of
the United States government, and the Government of Israel, as well as direct banking and payment
services companies with some of the most recognized brands in United States financial services and some
of the largest credit card issuers in the world.

We are therefore frequently subjected to physical, logical, data, and information systems security
reviews and audits. We have been compliant with our clients’ security standards and have also been
determined to be compliant with ISO/IEC 27001/2 and Payment Card Industry (PCI) data-security
standards, the Gramm-Leach-Bliley Act (GLB) of 1999, the National Association of Insurance
Commissioners (NAIC) Regulations, the Health Insurance Portability and Accountability Act (HIPAA) of
1996, and the Health Information Technology for Economic and Clinical Health Act (HITECH).

The Government of Israel has determined that A.B. Data is compliant with its rigorous security standards
in connection with its work on Project HEART (Holocaust Era Asset Restitution Taskforce).

A.B. Data’s fund distribution team has been audited by EisnerAmper LLP and was found compliant with
class action industry standards and within 99% accuracy. EisnerAmper LLP is a full-service advisory and
accounting firm and is ranked the 15th-largest accounting firm in the United States.

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 In addition, as part of PCI compliance requirements, A.B. Data has multiple network scans and audits
 from third-party companies, such as SecurityMetrics and 403 Labs, and is determined to be compliant
 with each of them.




 Fraud Prevention and Detection


          A.B. Data is at the forefront of class action fraud prevention.

          A.B. Data maintains and utilizes comprehensive proprietary databases and procedures to detect
 fraud and prevent payment of allegedly fraudulent claims.

 We review and analyze various filing patterns across all existing cases and claims. Potential fraudulent
 filers are reported to our clients as well as to the appropriate governmental agencies where applicable.




 Representative Class Action Engagements


           A.B. Data and/or its team members have successfully administered hundreds of class actions,
           including many major cases. Listed below are just some of the most representative or recent
           engagements.



     Consumer & Antitrust Cases

 •   Phil Shin, et al. v. Plantronics, Inc.
 •   In re: Qualcomm Antitrust Litigation
 •   In re Resistors Antitrust Litigation
 •   The Hospital Authority of Metropolitan Government of Nashville and Davidson County, Tennessee
     v. Momenta Pharmaceuticals, Inc. and Sandoz Inc. (“Lovenox Antitrust Matter”)
 •   William Kivett, et al. v. Flagstar Bank, FSB, and DOES 1-100, inclusive
 •   Adelphia, Inc. v. Heritage-Crystal Clean, Inc.
 •   LLE One, LLC, et al. v. Facebook, Inc.
 •   Bach Enterprises, Inc., et al. v. Advanced Disposal Services South, Inc., et al.
 •   JWG Inc., et al. v. Advanced Disposal Services Jacksonville, L.L.C., et al.
 •   State of Washington v. Motel 6 Operating L.P. and G6 Hospitality LLC
 •   In re GSE Bonds Antitrust Litigation
 •   Wave Lengths Hair Salons of Florida, Inc., et al. v. CBL & Associates Properties, Inc., et al.
 •   In re Loestrin 24 FE Antitrust Litigation
 •   Office of the Attorney General, Department of Legal Affairs, State of Florida v. Pultegroup, Inc.
     and Pulte Home Company, LLC
 •   In re Cigna-American Specialties Health Administration Fee Litigation
 •   In re: Intuniv Antitrust Litigation
 •   High Street, et al. v. Cigna Corporation, et al.
 •   Gordon Fair, et al. v. The Archdiocese of San Francisco, San Mateo, and Marin County
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 •   Bizzarro, et al. v. Ocean County Department of Corrections, et al.
 •   Meeker, et al. v. Bullseye Glass Co.
 •   MSPA Claims 1, LLC v. Ocean Harbor Casualty Insurance Company
 •   Tennille v. Western Union Company - Arizona
 •   Garner, et al. v. Atherotech Holdings, Inc. and Garner, et al. v. Behrman Brothers IV, LLC, et al.
 •   Robinson, et al. v. Escallate, LLC
 •   Josefina Valle and Wilfredo Valle, et al. v. Popular Community Bank f/k/a Banco Popular North
     America
 •   Vision Construction Ent., Inc. v. Waste Pro USA, Inc. and Waste Pro USA, Inc. and Waste Pro of
     Florida, Inc.
 •   Plumley v. Erickson Retirement Communities, et al.
 •   In re London Silver Fixing, Ltd. Antitrust Litigation
 •   In re EpiPen Marketing, Sales Practices and Antitrust Litigation
 •   Ploss v. Kraft Foods Group, Inc. and Mondelēz Global LLC
 •   In re Mexican Government Bonds Antitrust Litigation
 •   In re Ready-Mixed Concrete Antitrust Litigation
 •   In re: Marine Hose Antitrust Litigation
 •   Iowa Ready Mixed Concrete Antitrust Litigation
 •   In re Potash Antitrust Litigation (II)
 •   In re Evanston Northwestern Healthcare Corp. Antitrust Litigation
 •   In re Polyurethane Foam Antitrust Litigation
 •   In re LIBOR-Based Financial Instruments Antitrust Litigation
 •   In re Lorazepam and Clorazepate Antitrust Litigation
 •   In re Cardizem CD Antitrust Litigation
 •   Vista Healthplan, Inc., and Ramona Sakiestewa v. Bristol-Myers Squibb Co., and American
     BioScience, Inc.
 •   In re Lupron Marketing and Sales Practices Litigation
 •   In re Terazosin Hydrochloride Antitrust Litigation
 •   In re Warfarin Sodium Antitrust Litigation
 •   Rosemarie Ryan House, et al. v. GlaxoSmithKline PLC and SmithKline Beecham Corporation
 •   Carpenters and Joiners Welfare Fund, et al. v. SmithKline Beecham
 •   New Mexico United Food and Commercial Workers Union’s and Employers’ Health and Welfare
     Trust Fund, et al. v. Purdue Pharma L.P.
 •   In Re Pharmaceutical Industry Average Wholesale Price Litigation
 •   Alma Simonet, et al. v. SmithKline Beecham Corporation, d/b/a GlaxoSmithKline
 •   In re Relafen Antitrust Litigation
 •   In Re Remeron Direct Purchaser Antitrust Litigation
 •   In re TriCor Indirect Purchasers Antitrust Litigation
 •   Nichols, et al., v. SmithKline Beecham Corporation
 •   In re: DDAVP Indirect Purchaser Antitrust Litigation


     Securities Cases

 •   Laydon v. Mizuho Bank, Ltd., et al.
 •   Lomingkit, et al. v. Apollo Education Group, Inc., et al.
 •   In re Caraco Pharmaceutical Laboratories, Ltd. Shareholder Litigation
 •   Norfolk County Retirement System, et al. v. Community Health Systems, Inc., et al.
 •   Chester County Employees’ Retirement Fund v. KCG Holdings, Inc., et al.
 •   Oklahoma Law Enforcement Retirement System, et al. v. Adeptus Health Inc., et al.
 •   Di Donato v. Insys Therapeutics, Inc., et al.
 •   Lundgren-Wiedinmyer, et al. v. LJM Partners, Ltd, et al.
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 •   Martin, et al. v. Altisource Residential Corporation, et al.
 •   Stephen Appel, et al. v. Apollo Management, et al.
 •   In re Medley Capital Corporation Stockholder Litigation
 •   Forman, et al. v. Meridian BioScience, Inc., et al.
 •   Public Employees’ Retirement System of Mississippi, et al. v. Endo International PLC, et al.
 •   In Re Flowers Foods, Inc. Securities Litigation
 •   Jiangchen, et al. v. Rentech, Inc., et al.
 •   In re Liberty Tax, Inc. Stockholder Litigation
 •   In re RH, Inc. Securities Litigation
 •   Lazan v. Quantum Corporation, et al.
 •   Nabhan v. Quantum Corporation, et al.
 •   Edmund Murphy III, et al. v. JBS S.A.
 •   Public Employees’ Retirement System of Mississippi, et al. v. Sprouts Farmers Market, Inc., et al.
 •   In re Starz Stockholder Litigation
 •   Judith Godinez, et al. v. Alere Inc., et al.
 •   Rahman and Giovagnoli, et al. v. GlobalSCAPE, Inc., et al.
 •   Arthur Kaye, et al. v. ImmunoCellular Therapeutics, Ltd., et al.
 •   In re CPI Card Group Inc. Securities Litigation
 •   Daniel Aude, et al. v. Kobe Steel, Ltd., et al.
 •   In re Quality Systems, Inc. Securities Litigation
 •   Cooper, et al. v. Thoratec Corporation, et al.
 •   Washtenaw County Employees’ Retirement System, et al. v. Walgreen Co., et al.
 •   Elkin v. Walter Investment Management Corp., et al.
 •   In Re CytRx Corporation Securities Litigation
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 •   In re Lehman Brothers Equity/Debt Securities Litigation
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